Case 2:04-cr-20409-.]DB Document 44 Filed 07/14/05 Page l of 2 Page|D 58

_ ` D.c.
IN THE: UN::TED sTATEs nrs'rnrc'r couRT m By
FoR THE wssTERN nrsTchT oF TENNESSEE .
wEsTERN DrvrsroN 05 JUL \h AH||- 014
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UNITED STATES OF AMERICA, ) W;D 01~ h \-£?H¥S
)
Plaintiff, )
)
VS- ) cR. No. 04-20409-Ma
)
DEMARCUS ROGERS, )
)
)

Defendant.

 

ORDER ON CONTINUANCE AND SPECIF'YING PERIOD OF EXCLUDABLE DELA`Y

 

This cause came on for a report date on June 24, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning September 6, 2005 at 9:30 a.m., with
a report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 24, 2005 through September 16, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3161(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

IT IS SO ORDERED this ,3 & day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20409 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

